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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 20-00068 LEK
 CASE NAME:              USA vs. Nickie Mali Lum Davis


       JUDGE:      Leslie E. Kobayashi           DATE:            05/10/2022


COURT ACTION: EO: COURT ORDER VACATING THE HEARING ON
DEFENDANT’S MOTION TO DISQUALIFY; MOTION TO STAY SENTENCING; AND
MOTION FOR JUDICIAL RELIEF AND SETTING BRIEFING SCHEDULE FOR THE
GOVERNMENT’S MOTION FOR JUDICIAL FINDING OF WAIVER OF ATTORNEY-
CLIENT PRIVILEGE

       On April 26, 2022, Defendant Nickie Mali Lum Davis (“Davis”) filed a Motion to
Disqualify; Motion to Stay Sentencing; and Motion for Judicial Relief (“Davis’s Motion”). [Dkt.
nos. 47 (motion), 48 (mem. in supp.).] On May 4, 2022, Plaintiff United States of America (“the
Government”) filed its response to Davis’s Motion (“Response”) and a Motion for Judicial
Finding of Waiver of Attorney-Client Privilege (“Government’s Motion”). [Dkt. nos. 55, 56.]

      This Court concludes that the hearing on Davis’s Motion cannot proceed until the
Government’s Motion is resolved. Therefore, the hearing on Davis’s Motion, currently scheduled
for May 18, 2022, and Davis’s May 11, 2022 deadline for her optional reply in support of her
motion are VACATED.

      Davis is ORDERED to file her response to the Government’s Motion by May 17, 2022.
The Government may file an optional reply in support of its motion by May 20, 2022. The
Government’s Motion will be taken under advisement thereafter and decided without a hearing.

        After this Court has ruled on the Government’s Motion, this Court will issue a new date
for the hearing on Davis’s Motion, as well as a new deadline for Davis’s optional reply in support
of her motion.

       IT IS SO ORDERED.

Submitted by: Agalelei Elkington, Courtroom Manager
